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                       IN THE UINITED STATES DISTRICT COURT
  9
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
                               SOUTHERN DIVISION
 11
 12 LEIGH ANN JACKSON, an individual,        No. 2:19-CV-10450-DOC (Ex)
 13          Plaintiff,
 14              vs.                         JUDGMENT
 15 EILEEN A. GASPAR, an individual;
                                             Discovery Cutoff Date: April 2, 2021
    PROFESSIONAL PLAN
 16 ADMINISTRATORS, INC., a California       Pretrial Conference Date: July 26, 2021
    corporation; and PROFESSIONAL
 17 PENSION ADMINISTRATORS, INC., a
                                             Complaint filed: December 10, 2019
    California corporation,
 18                                          Trial Date:      September 28, 2021
                  Defendant.
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  1        On June 14, 2021, the Court entered an Order Granting Plaintiff’s Motion for
  2 Summary Judgment and Denying Defendants’ Motion for Summary Judgment (the
  3 “Order”). [Dkt. 113].
  4        A bench trial was subsequently conducted on September 28, 29, and October
  5 5, 2021 to determine nominal defendant Professional Pension Administrators, Inc.’s
  6 (“PPA I”) and Plaintiff Leigh Ann Jackson’s remedies . On November 18, 2021, the
  7 Court issued its Findings of Fact and Conclusions of Law. [Dkt. 190]. Based on the
  8 Findings and Facts and Conclusions of Law by this Court, the Court enters judgment
  9 as follows:
 10        1.     Judgment is GRANTED in favor of Jackson and against Defendants
 11 Retirement Service Group, Inc., f/k/a Professional Plan Administrators, Inc. (“PPA
 12 II”) and Eileen A. Gaspar (“Gaspar”) (collectively, “Defendants”) as to all causes of
 13 action asserted against each of them in the Complaint.
 14        2.     PPA I is awarded $25,000 in royalties as actual damages against PPA II
 15 and Gaspar, jointly and severally. Jackson is awarded $12,500, or 50% of such an
 16 award, based upon her individual interest in PPA I, jointly and severally against PPA
 17 II and Gaspar.
 18 3.     PPA I is awarded $15,725 in actual damages resulting from Gaspar’s breach
 19 of fiduciary duty to PPA I. Jackson is awarded $7,862.50, or 50% of such an award,
 20 based upon her individual interest in PPA I, against Gaspar.
 21        4.     PPA I is awarded $5,000 in statutory damages against PPA II and
 22 Gaspar, jointly and severally, pursuant to 15 U.S.C. § 1117(d) as a result of
 23 Defendants’ violation of 15 U.S.C. § 1125(d)(1). Jackson is awarded $2,500, or 50%
 24 of such an award, based upon her individual interest in PPA I, jointly and severally
 25 against PPA II and Gaspar.
 26        5.     Jackson is awarded $60,000.00 in damages against Gaspar in her
 27 individual capacity as a result of Gaspar’s breach of fiduciary duty to her.
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  1        6.    Within three court days of the Court’s entry of this Judgment,
  2 Defendants shall cancel the registration of the domain name: PPA401K.COM.
  3        7.    Defendants and their officers, directors, employees, representatives,
  4 agents, related companies, affiliates, successors, assigns, or others acting in concert
  5 with or on their behalf are permanently enjoined and restrained from:
  6              i.     using any intellectual property owned by PPA I in any capacity,
  7                     and in particular: (1) the “PPA” trademark; (2) the “Professional
  8                     Plan Administrators” trade name; (3) PPA I’s logo; and (4)
  9                     Professional Pension Administrators, Inc.’s design mark, or any
 10                     intellectual property that is confusingly similar thereto; and
 11              ii.    using any false designation of origin, false description, or
 12                     performing any act that is likely to lead members of the public or
 13                     customers to believe that any goods or services marketed, sold, or
 14                     offered for sale by Defendants are marketed, sold, offered for sale,
 15                     manufactured, licensed, sponsored, approved, or authorized by
 16                     PPA I.
 17        8.    Any request by the parties for an award of attorneys’ fees, costs and/or
 18 related nontaxable expenses shall be made pursuant to any applicable statute, Federal
 19 Rule of Civil Procedure and/or Local Rule.
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 21
           December 6, 2021
 22 Date: _____________________ _____________________________
                                HON. DAVID O. CARTER
 23
                                UNITED STATES DISTRICT COURT JUDGE
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